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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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JEFFERSON RODRIGUEZ, FILIBERTO LUCENA,

DAVID PEREZ, LUIS FELICIANO, JEFFREY AMENDED COMPLAINT
RIVERA, ANTONIO NIEVES, JOSEPH APARICIO, WITH JURY DEMAND? <2,
CARLOS VAZQUEZ, and other Hispanics who Se Be
are similarly situated, qa am.
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Plaintiffs, a SS i
06 CV 1555 3 % =
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~against- (RJH) ‘re ora cs Oh
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CITY OF NEW YORK, MARTHA E. STARK, ae 4

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Department Of Finance, LINDSAY EASON
Sheriff of City Of New York, OSCAR 2 2088

ODOM III, First Deputy Sheriff

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Commissioner of City of New York ) EG DET NS.
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Commissioner, TIMOTHY LAROSE, Chief USDC SD RY. VE
Of Operations Sheriff's Office, CASHIERS. 232

THOMAS SCALI, Lieutenant, and NANCY me
GOODMAN, Finance Department Advocate, ~

Defendants. ce
Sot ee ee a ee ee eee x
Plaintiffs, JEFFERSON = RODRIGUEZ (“RODRIGUEZ”) ,
FILIBERTO LUCENA (“LUCENA”}, DAVID PEREZ (“PEREZ”), LUIS

FELICIANO (“FELICIANO”}, JEFFREY RIVERA (“RIVERA”), ANTONIO

NIEVES (“NIEVES”), JOSEPH APARICIO (“APARICIO”), and CARLOS

VAZQUEZ (“VAZQUEZ”), by and through their attorneys, the

law firm of CRONIN & BYCZEK, LLP, as and for their

Complaint against Defendants, respectfully set forth the

following:

NATURE OF ACTION

1. This action is hereby commenced for the purpose

of seeking to secure protection of, and to redress the
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deprivation of, rights secured by the United States
Constitution, Title VII of the Civil Rights Act of 1964, as
amended, 42 U.S.C. § 1981, 42 U.S.c. § 1983, 42 U.S.c. §

1985, New York State Executive Law § 296, and New York City
Human Rights Law § 8-107 et. seq., providing for relief
based upon Defendants’ unlawful employment practices of
engaging in discrimination based upon Plaintiffs’ race and
retaliation against Plaintiffs for engaging in the
protected activity of formally complaining of said
discrimination.
JURISDICTION
2. The jurisdiction of this Court is invoked based

upon federal questions and pursuant to the Constitution of

U.S.C. -§§ 1343(3) and (4), 28 U.S.C. § 1331, as well as 42
U.S.C. § 2000e through § 2000e (15).

3, This Court has supplemental jurisdiction over the
federal claims pursuant to 28 U.S.C. § 1367.

4, Jurisdiction is also invoked under the doctrine
of pendant jurisdiction with respect to any and all state
claims set forth in all counts.

D. The rights, privileges and immunities sought
herein to be redressed are those secured by the First

Amendment freedom of speech and by the equal protection and
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due process clauses of the Fourteenth Amendment of the
United States Constitution, and provisions against race
discrimination and retaliation in employment based upon
Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 1981, 42 U.S.C. § 1983, 42 U.S.C. § 1985, along
with applicable provisions of the New York State
Constitution, New York State Executive Law and New York
City Human Rights Law.
SATISFACTION OF PREREQUISITES UNDER TITLE VII

6. On or about July 20, 2005, Plaintiffs, RODRIGUEZ,
LUCENA, PEREZ, FELICIANO, RIVERA, NIEVES and APARICIO, in
accordance with applicable law, each filed a Verified
Complaint with the United States Equal Employment
Opportunity Commission ("EEOC"), which organization
receives and investigates charges of discrimination as set
forth by the Federal Anti-Discrimination Laws, including
Title VII of the Civil Rights Act, as amended. On or about
June 7, 2006, Plaintiff Carlos Vazquez, in accordance with
applicable law, filed a Verified Complaint with the EEOC.

7. Said Verified Complaints charged that Defendants
engaged in unlawful employment discrimination practices
based upon race and in retaliation for engaging in

protected activity.
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a, On November 16, 2005, the EEOC issued "Right to
Sue" Letters advising Plaintiffs, except VAZQUEZ, of the
completion of their prerequisites to file suit in federal
court. Plaintiffs, except VAZQUEZ, received said “Right to
Sue” Letters on November 30, 2005. A copy of the "Right to
Sue" Letter issued to Plaintiff RODRIGUEZ is annexed hereto
as Exhibit "A". A copy of the "Right to Sue" Letter issued
to Plaintiff LUCENA is annexed hereto as Exhibit "B". A
copy of the "Right to Sue" Letter issued to Plaintiff PEREZ
is annexed hereto as Exhibit "C". A copy of the "Right to
Sue" Letter issued to Plaintiff FELICIANO is annexed hereto
as Exhibit "D". A copy of the "Right to Sue" Letter issued
to Plaintiff RIVERA is annexed hereto as Exhibit "E". A
copy of the "Right to Sue" Letter issued to Plaintiff
NIEVES is annexed hereto as Exhibit "F". A copy of the
"Right to Sue" Letter issued to Plaintiff APARICIO is
annexed hereto as Exhibit "G". It is anticipated that a
“Right to Sue” Letter will be issued to Plaintiff VAZQUEZ
on or before December 4, 2006.

VENUE

9, Venue is proper within the Southern District of
this Court, County of New York, State of New York, as the
course of Defendants’ conduct took place within the

boundaries of the County of New York, State of New York,
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and the instant causes of action are based upon violations
of the New York State Constitution, New York State
Executive Law and New York City Human Rights Law.

PARTIES

10. Plaintiff RODRIGUEZ is a Hispanic male citizen of
the United States and a resident of Queens County, State of
New York. He has registered his opposition to the
discriminatory practices of Defendants and thus is a member
of a protected class. At. all times relevant to this action,
Plaintiff RODRIGUEZ was, and still is, a uniformed member
of the CITY Sheriff's Office since November 1993. He
currently holds the position of Sergeant.

Ji. Plaintiff LUCENA is a Hispanic male citizen of
the United States and a resident of Bronx County, State of
York. He has registered his opposition to the
discriminatory practices of Defendants and thus is a member
of a protected class. At all times relevant to this action,

Plaintiff LUCENA was, and still is, a uniformed member of

the CITY Sheriff’s Office since July 1993.
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12. Plaintiff PEREZ is a Hispanic male citizen of the
United States and a resident of Bronx County, State of New
York. He has registered his opposition to the
discriminatory practices of Defendants and thus is a member
of a protected class. At all times relevant to this action,
Plaintiff PEREZ was, and still is, a uniformed member of
the CITY Sheriff's Office since 1986.

13. Plaintiff FELICIANO is a Hispanic male citizen of
the United States and a resident of Bronx County, State of
New York, He has registered his opposition to the
discriminatory practices of Defendants and thus is a member
of a protected class. At all times relevant to this action,
Plaintiff FELICIANO was, and still is, a uniformed member
of the CITY Sheriff’s Office since 1993. He currently holds
the rank of Lieutenant.

14. Plaintiff RIVERA is a Hispanic male citizen of
the United States and a resident of Richmond County, State
of New York. He has registered his opposition to the
discriminatory practices of Defendants and thus is a member
of a protected class. At all times relevant to this action,
Plaintiff RIVERA was, and still is, a uniformed member of
the CITY Sheriff's Office since 1990. He is currently a

Supervising Deputy Sheriff.
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15. Plaintiff NIEVES is a Hispanic male citizen of
the United States and a resident of Bronx County, State of
New York. He has registered his opposition to the
discriminatory practices of Defendants and thus is a member
of a protected class. At all times relevant to this action,
Plaintiff NIEVES was, and still is, a uniformed member of
the CITY Sheriff's Office since December 1993.

16. Plaintiff APARICIO is a Hispanic male citizen of
the United States and a resident of Bronx County, State of
New York. He has registered his opposition to the
discriminatory practices of Defendants and thus is a member
of a protected class. At all times relevant to this action,
Plaintiff APARICIO was, and still is, a uniformed member of
the CITY Sheriff's Office since July 1991. He currently
holds the rank of Sergeant.

i7. Plaintiff VAZQUEZ is a Hispanic maie citizen of
the United States and a resident of Bronx County, State of
New York. He has registered his opposition to the
discriminatory practices of Defendants and thus is a member
of a protected class. At all times relevant to this action,
Plaintiff VAZQUEZ was, and still is, a uniformed member of
the CITY Sheriff’s Office since December 1994,

18. Defendant CITY OF NEW YORK (“CITY”) is a

municipal entity created and authorized under the laws of
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the CITY and State of New York. CITY is authorized by law
to maintain a Department of Finance that acts as its agent
and for which it is ultimately responsible. The New York
City Sheriff's Office is a division of the Department of
Finance, and is the chief civil law enforcement office for
the CITY.

19. Defendant MARTHA EE. STARK (“STARK”) has been
Commissioner of the CITY Department of Finance since
February 2002 and was, and still is, acting in such
capacity at all times relevant herein. STARK was, and still
is, Plaintiffs’ supervisor. STARK is sued in her official
Capacity.

20. Defendant LINDSAY EASON (“EASON”) has been
Sheriff for the CITY since January 2002. EASON, at all
times relevant to this Complaint, was and still is
Plaintiffs’ superior officer and supervisor. He is sued in
his individual and official capacity.

21. Defendant OSCAR ODOM III (“ODOM”) was at all
times relevant the First Deputy Sheriff Commissioner in the
CITY Department of Finance Sheriff’s Office. At all times
relevant to this Complaint, ODOM was, and still is,
Plaintiffs’ superior officer and supervisor. He is sued in

his individual and official capacity.
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22. Defendant TIMOTHY LAROSE (“LAROSE”) was at all
times relevant the Chief of Operations for the CITY
Sheriff’s Office. At all times relevant to this Complaint,
LAROSE was and still is Plaintiffs’ superior officer and
supervisor. He is sued in his individual and official
Capacity.

23. Defendant THOMAS SCALI (“SCALI”) was at all times
relevant a Lieutenant in the CITY Sheriff's Office. At all
times relevant to this Complaint he was and still is
Plaintiffs’ superior officer and supervisor. He is sued in
his individual and official capacity.

24. Defendant NANCY GOODMAN (“GOODMAN”) was at all
times relevant the CITY Finance Department Advocate,
responsible for investigating the conduct of Deputy
Sheriffs. She is sued in her individual and official
capacity.

FACTS UNDERLYING PLAINTIFFS’ CLAIMS

A. COMPLAINT OF JEFFERSON RODRIGUEZ

25. Plaintiff RODRIGUEZ is currently employed as a
Sergeant Deputy Sheriff in the CITY Sheriff's Office, a
division of the Department of Finance, where he has worked
since November 29, 1993,

26. Until he exercised his First Amendment right to

complain about the discriminatory treatment he was
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subjected to in his employment with Defendant CITY,
RODRIGUEZ always received excellent performance evaluations
and never had any disciplinary problems.

27. Throughout his tenure with the Sheriff's Office,
RODRIGUEZ has submitted at least a dozen requests to be
transferred, but like other Hispanic males, Defendants have
summarily denied all of his requests.

28. Meanwhile, the transfer requests of similarly
Situated non-Hispanic Deputy Sheriffs are reutinely granted
by Defendants without hesitation.

29. Specifically, in August 2004, Plaintiff RODRIGUEZ
along with several non-Hispanic deputies each made requests
to be transferred. Each and every request was approved and
granted by Defendants with the sole exception of the
request of RODRIGUEZ, the only Hispanic male who sought a
transfer, despite the fact that RODRIGUEZ submitted the
same requisite documents as said non-Hispanics.

30. Despite RODRIGUEZ’ request, Defendants never
provided an explanation for their denial of his request to
transfer.

31. Also in August 2004, Plaintiff RODRIGUEZ
submitted another application to be transferred back into

the Warrant Unit where he had previously served. Defendants

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denied said transfer request, stating that there was “no
opening.”

32. At the time of RODRIGUEZ’ application to transfer
into the Warrant Unit, there was in fact an opening
available.

33. Shortly thereafter, Defendant ODOM, who is
African-American, approved the transfer of a black Sergeant
who was recently demoted from Lieutenant to Sergeant, to
the Warrant Unit.

34. On cr about September or October 2004, Plaintiff
RODRIGUEZ requested a change of tour to a four-day workweek
so that he could attend classes to further his education
and complete a course to obtain a teacher’s license with
the New York City Department of Education.

35. Defendant ODOM denied said request made by
RODRIGUEZ, stating that the Sheriff’s Office does not allow
for “special tours.”

36. Despite Defendant ODOM’s claim that the Sheriff's
Office does not permit the creation of “special tours” to
accommodate a Deputy, Defendants have in the past created
“special tours” for non-Hispanic Deputies and continue to
do sc to the present day.

37. Defendants denial of Plaintiff RODRIGUEZ’ request

for transfer for failure to submit proper paperwork is

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pretextual, since similarly situated non-Hispanic deputies
are routinely granted transfer requests despite the absence
ef any formal paperwork. In fact, many requests are made
and granted over the telephone for non-Hispanic deputies.

38. At some point in early 2005, Plaintiff RODRIGUEZ
began to be supervised by Defendant SCALI.

39. Defendant SCALI, on his own, and at the direction
of the other Defendants, continued to discriminate and
retaliate against Plaintiff RODRIGUEZ as a result of his
Hispanic background and complaints regarding discrimination
based upon his ethnicity.

40. As part of the aforementioned discrimination and
retaliation, Defendant SCALT: (a) ordered RODRIGUEZ out of
his cubicle and to take up a desk in the Lieutenant’s
office so that Plaintiff could be monitored (no other
sergeant is forced to work in this fashion), which was done
in full view of the other Deputy Sheriffs causing extreme
embarrassment and humiliation to RODRIGUEZ; (b} against
CITY rules and procedures, Plaintiff RODRIGUEZ was ordered
to write all of the reports and affidavits for the non-
Hispanic Deputy Sheriffs, including statements involving
the non-Hispanic Deputy Sheriffs’ actions which they took,
and the non-Hispanic Deputy Sheriffs were only required to

Sign off on the paperwork that Plaintiff RODRIGUEZ created;

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and (c) Defendant SCALI allows other non-Hispanic deputies
to refuse to work with Plaintiff RODRIGUEZ because cf his
ethnic background (Hispanic), which results in Plaintiff
RODRIGUEZ having to handle dangerous and/or high-profile
arrests without adequate backup.

41. As a result of the discriminatory and retaliatory
actions of Defendants, Plaintiff RODRIGUEZ attempted, on
numerous occasions, te contact Defendant ODOM in order to
discuss the hostile work environment in the Sheriff's
Office.

42. Defendant ODOM refuses to speak with Plaintiff
RODRIGUEZ regarding the discriminatory and retaliatory
treatment he is forced to endure. Plaintiff RODRIGUEZ was
informed by one of his supervisors, Chief Steve Adams, that
he was ordered to inform RODRIGUEZ not to contact Defendant
ODOM in regards to his complaints about discrimination and
retaliation within the workplace, despite the fact that
ODOM was, and still is, First Deputy Sheriff Commissioner.

43. Despite RODRIGUEZ being ordered not to
communicate with Defendant ODOM, Defendant ODOM continues
to meet on a daily basis with similarly situated non-
Hispanic deputies.

44. On or about August 2005, Plaintiff RODRIGUEZ,

while in his current unit, the Queens Private Sector,

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reported to his supervisors that other deputies were
“stealing time” from the Sheriff’s Office. As a result of
said whistle blowing, RODRIGUEZ was threatened with bodily
harm by non-Hispanic deputies, which precipitated
RODRIGUEZ’ request for a transfer.

45. Chief Steve Adams informed Defendant ODCM that he
feared for RODRIGUEZ’ safety and a transfer should be
granted in order to avoid harm to RODRIGUEZ. Despite the
Chief's stated belief, Defendant CDOM refused toe transfer
RODRIGUEZ.

46. As a result of RODRIGUEZ’ aforementioned
compiaints, Defendants have begun to harass and retaliate
against RODRIGUEZ by falsely accusing him of frivoious and
unsubstantiated claims of misconduct.
urther retaliation against Plaintiff
RODRIGUEZ, Defendant GOODMAN continuously threatens
Plaintiff with disciplinary action and wrongly accuses him
of: (a) cursing on his cell phone, (b) tearing memos off

the wall, and (c) double dipping and illegaily holding a

second job.

48. In June 2005, Plaintiff suffered a nervous
preakdown as a result of Defendants’ aforementioned
discrimination and retaliation, for which he was

hospitalized for approximately one week. As a result,

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Plaintiff was placed on medication and has se@en a
49, On July 18, 2005, Plaintiff filed a formal

complaint with the United States EEOC, pertaining to the

aforementioned discrimination and retaliation.

50. Plaintiff thereafter requested a transfer,
however, aS a condition to said transfer, Defendants told
RODRIGUEZ that he had to admit that he was not transferring
based upon the discriminatory and retaliatory treatment of
Defendants, and must “sign off” on said transfer.

51. Despite said transfer, RODRIGUEZ continues to
suffer retaliation, harassment and hostile working
conditions as a result of his Hispanic background, and due
to the formal complaint he filed with the EEOC as well as
the numerous other internal complaints RODRIGUEZ made
within the Department of Finance.

52. As a direct result of the severe and pervasive
discrimination that Plaintiff RODRIGUEZ has endured in the
Sheriff’s Office, his earning potential has been severely
limited.

53. RODRIGUEZ has suffered severe emotional and
psychological damages as a result of the discriminatory,
retaliatory and hostile work environment that he was forced

to endure and continues to endure to the present day.

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B. COMPLAINT OF FILIBERTO LUCENA

54. Plaintiff LUCENA began his career
Department of Finance on July 19, 1993. He is currently a
Deputy
55. Plaintiff LUCENA has accumulated an enormous

amount of experience throughout his years with the

Sheriff's Department, and has received very good

56. Plaintiff LUCENA took and passed the Supervising

Sheriff Examination twice, and he is currently

ranked twelfth (12°) on the Supervising Deputy Sheriff's

57. Despite LUCENA’s high standing on the Supervising

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experience and impeccable disciplinary record, Defendants

lower-ranked, inexperienced non-Hispanics, some of whom

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Examination.

58 Defendants allege that they maintain a policy,

practice and criteria that promotions are given based upon

experience, seniority, evaluations, attendance and

training.

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59. Defendants repeatedly and continuously violate

this policy, practice and criteria for promotion by

g non-Hispanics over Hispanic Deputy Sheriffs who

inely deny the transfer requests of

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61. In February 2005, Defendants finally granted
Plaintiff LUCENA 2 tranefar after nearly five vears of
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persistent applications and rejections. Meanwhile,
Plaintiff has observed the ease and effortlessness at which

non-Hispanic Deputies are granted transfers in the

Sheriff's Department
62. Throughout the many years that LUCENA was a
Deputy Sheriff he observed non-Hispanic deputies heing

transferred to their desired unit upon request without any

difficulties

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63. On June 7, 1999, Plaintiff LUCENA formally

requested a transfer from the Warrant Unit to the Bronx
Private Sector. Said request was denied. Instead, in

LUCENA was transferred to a unit he had

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requested, the Sheriff's Auction Unit, which is considered
to be an undesirable unit.

64. Plaintiff LUCENA continued to request transfers
without any positive results, despite the fact that non-
Hispanic deputies were being transferred upon their
request.

65. On May 7, 2004, Plaintiff LUCENA again formaily
requested a transfer to the Bronx Private Sector. On May
13, 2004, LUCENA received a response once again denying his
request for the following reason: “The operational needs of
the office do not justify assigning additional deputy
sheriffs to the Bronx Private Sector at this time.” In
clear contradiction to this statement, Defendants had in
fact transferred a non-Hispanic Deputy Sheriff IT by
granting his request to be transferred to the Bronx Private
Sector. Said request by the non-Hispanic deputy was honored
Within a few of weeks of submission, and was not even
carried out in an official personnel order memorandum as is
the custom, practice and regulation of the Sheriff's
Office.

66. The transfer of non-Hispanics who do not even
make official requests in the prescribed formal manner has

become a standard practice in the Sheriff's Office. As

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such, Plaintiff LUCENA and other Hispanics are treated
differently than said similarly situated non-Hispanics.

67. On July 7, 2004, a personnel order was issued
whereby five out of six deputies on said transfer order
were non-Hispanic, despite the fact that numerous Hispanics
requested to be transferred.

68. On August 9, 2004, another non-Hispanic Deputy
Sheriff was transferred, who had submitted his application
for transfer only days prior, while many Hispanic deputies,
including Plaintiff LUCENA, who previously submitted their
applications for transfer, were passed over for this non-
Hispanic deputy.

69, As a result of the numerous complaints made by
Plaintiff LUCENA and other Hispanic deputies regarding the
prejudicial treatment by the Sheriff’s Office and the
discriminatory fashion in which promoticns are made, on
September 30, 2004, Defendant ODOM issued an email to all
Deputies stating that all transfer requests must be
submitted to an Undersheriff by October 8, 2004. Moreover,
ODOM stated that consideration would be given based upon
attendance, evaluations, training and background.

70. On October 4, 2004, Plaintiff LUCENA forwarded
yet another transfer request to Undersheriff Talamo

pursuant to the September 30° email of Defendant ODOM. In

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retaliation for Plaintiff LUCENA’ s complaints of
discrimination, Defendants misplaced his transfer request.
As a result, Plaintiff was forced to prepare and forward an

additional request to Defendant ODOM, causing further delay

of his transfer request.
71. Despite numerous non-Hispanics being transferred
immediately after the September 30'° email of Defendant

ODOM, Plaintiff LUCENA did not receive notification of his

were transferred, and approximately five years after his
initial request was made.

72. Plaintiff LUCENA was forced to witness the
transfer of non-Hispanic deputies
Hispanic deputies who were similarly situated were denied
their requests, resulting in disparate treatment.

73. As a direct result of the severe and pervasive
discrimination that Plaintiff LUCENA has endured, his
earning potential has been severely limited.

74. As a result of the disparate treatment due to

Plaintiffs’ race and national origin, as well as

retaliation for complaining of said dise

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practices, Plaintiff LUCENA has been economically damaged
and caused to endure indescribable amounts of undue stress

and anxiety.

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Cc. COMPLAINT OF DAVID PEREZ

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76. Plaintiff PEREZ is an FBI/NYS Certified Firearms
Instructor, a NYS Certified Police Instructor and an

Advanced Taser Instructor. PEREZ, throughout his many years
of service, has been selected by various commanders within
the Sheriff's Department to be a part of their units,
including the Warrant Unit, the Kendra Unit and _ the
Firearms and Tactics Unit.

77. Plaintiff PEREZ is well regarded by his superiors
and was always, and continues to be, a dutiful and loyal
employee of the CITY Sheriff’s Office.

78. Despite Plaintiff PEREZ’

performance and seniority over non-Hispanic deputies, PEREZ

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has been, and continues to be, repeatedly passed over for
promotion to Sergeant.

79, Defendant CITY and the Department of Finance
maintain a policy, practice and regulation that all Deputy
Sheriffs are te be evaluated on an annual basis. Despite
said policy, practice and regulation, Plaintiff PEREZ has
not received a written performance evaluation in over six

years, despite his numerous requests to his superiors.

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Defendants have never given PEREZ an explanation for their
failure to evaluate him.
80. An evaluation is crucial for any Deputy Sheriff

in order to receive a transfer and/or promotion, since it

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is one of the criteria cited by Defendant ODOM in his
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September 30 email stating the alleged standards used to

evaluate an individual’s transfer and promotion potential.

81. Plaintiff PEREZ has been treated differently than
similarly situated non-Hispanic deputies who receive
written performance evaluations on a regular basis and upon
request.

82. Plaintiff PEREZ asserts that Defendants engaged,
and continue to engage, in a pattern and practice of
discrimination against Hispanics in that Hispanics are
disproportionately promoted to the position of Sergeant.

83. Similarly situated non-Hispanic Deputy Sheriffs
Plaintiff PEREZ and other Hispanics with the same or better
qualifications. Said policy has a disparate impact on
Hispanics.

84, Upon information and belief, the only reason
Plaintiff PEREZ did not receive a promotion was due to his
race and national origin and in retaliation for expressing

his complaints of disparate treatment to his superiors.

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85. Further, as part of a pattern of discriminatory
treatment of Hispanics, and specifically Plaintiff PEREZ,
Defendants frequently give undesirable transfers and/or
deny transfer requests to Hispanics while non-Hispanics
receive transfers to a unit in which overtime is permitted.

8G. Plaintiff obtained a line of duty injury on or
about July 15, 2003. He returned to work in June 2005 at
which time he was informed that he was being transferred
out of the Kendra Unit to the Scofftow Unit for night
tours.

87. Plaintiff informed Defendants that due to his
military service commitments the transfer to the Scofftow
Unit would be a tremendous detriment and hardship resulting
in PEREZ exhausting his military days since military drills
are held at night.

88, Defendants denied PEREZ’ request despite the fact
that there were other positions available in other units
within the Sheriff’s Office such as the Warrants Unit or
the New York County Private Sector Unit.

89. Defendants have in the past and continue to the
present day to accommodate non-Hispanics whe have conflicts
with their schedule, and transfer said non-Hispanics to a

different unit that is more convenient.

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90. On or about November 2005, PEREZ submitted an
application for approval to work outside of his employment
as a Deputy Sheriff. Said application normally takes two

weeks for approval from Defendants. PEREZ’ application took

two months before he received approval to work outside of

his empleyment with the Sheriff's Unit. As a result of

Defendant’s delay, the job was no longer available to
PEREZ
Si. Defendants deliberate procrastination was in

retaliation for PEREZ’ formal complaint to the EEOC and his
informal complaints logged to his superiors within the

As a direct result of the severe and pervasive

discrimination that Plaintiff PEREZ has endured, his

93. As a result of the disparate treatment due to
Piaintiffs’ race and national origin, as well as
retaliation for complaining of said discriminatory
practices, Plaintiff PEREZ has been economically damaged
and caused to endure indescribable amounts of undue stress

and anxiety.

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D. COMPLAINT OF LUIS FELICIANO

94. Plaintiff FELICIANO began his career with the

95. At present time, Plaintiff FELICIANO is the only
male Hispanic supervisor in the CITY Sheriff's Office.

96. Throughout his employ with the CITY Sheriff's
Office, Plaintiff FELICIANO has aiways maintained an
exemplary performance record.

97. From August 2001 to the present time, the City
Sheriff’s Office has repeatedly transferred Plaintiff
FELICIANO without his approval and ahead of less senior
non-Hispanic lieutenants, all because of FELICIANO’ s
Hispanic background and in retaliation to his complaints

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98. Plaintiff FELICIANO, along with other Hi
in the CITY Sheriff's Office, is treated differently than
Similarly situated non+Hispanics in the terms and
conditions of his employment in that Defendants routinely
involuntarily transfer FELICIANO based upon his Hispanic

background, and in a disproportionate manner as compared to

Similarly situated non-Hispanic deputies.

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99. From August 2001 to the present time, Plaintiff
FELICIANO was transferred to more units in the CITY
Sheriff's Office than any other Supervising Deputy Sheriff.

100. Even when he was neo longer the supervisor with
the least seniority, FELICIANO was transferred before non-
Hispanic supervisors with less seniority.

101i. Plaintiff FELICIANO was never consulted, nor did
he request or warrant said transfers.

102. The aforementioned involuntary transfers were
made upon the orders of Defendants ODOM and LAROSE who do
not treat non-Hispanic supervisors in this manner.

103. On August Q, 2001, Plaintiff FELICIANO was
promoted “provisionally” to the rank of Supervising Deputy
Sheriff. At the time of said promotion, FELICIANO became
only the second Hispanic to ever hold this rank.

104. Plaintiff FELICIANO made officiai inquiries as
to the reason for his “provisional” status, but neither the
CITY Department of Finance nor the Department of Citywide
Services offered a reason.

105. Plaintiff FELICIANO was promoted only
“provisionally” because of his Hispanic background.

106. Whije a Supervising Deputy Sheriff, Plaintiff

FELICIANO was assigned to night tours in the Scofftow Unit,

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a tour and unit that is considered the least desirable
assignment for any Supervising Deputy Sheriff.

107. Upon information and belief, Plaintiff FELICIANO
was assigned the least desirable tour and unit in the CITY
Sheriff’s Office because of his Hispanic background.

108. Unlike non-Hispanic deputies who are promoted to
the supervising Deputy Sheriff position, Plaintiff
FELICIANO was never provided with any formal on the Job
training.

109. In January 2002, Plaintiff FRLICIANO was
transferred to the New York County Private Sector Unit.

110. On Aprii il, 2002, Plaintiff FELICIANO was
transferred te the King’s County Sheriff's Office. Because
of his Hispanic background, Plaintiff FELICIANO became the
Supervising Deputy Sheriff with the least supervisory
experience, placed in charge of the most difficult private
sector unit. Plaintiff FELICIANO was placed in a position
for which he was not qualified, for the express purpose of
being used as a “scapegoat” so that any problems that arose
in this difficult sector could be easily attributable to
him.

lll. In King’s County, Plaintiff FELICIANO’s authority
was constantly being undermined due to his Hispanic

background.

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112. When Plaintiff FELICIANO attempted to formalize
disciplinary actions against two insubordinate non-Hispanic
Deputy Sheriffs, FELICIANO was disciplined instead and was
transferred.

113. On or about March 20, 2003, Plaintiff FELICIANO
met with Defendant ODOM regarding his intention of
formalizing disciplinary actions against two Deputy
Sheriffs under his command for failure to advise and
request permission of their supervisor to engage in
activity outside normal Sheriff operation.

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endant ODOM expressed his

support to Plaintiff FELICIANO, yet soon thereafter,
PELICIANO received a faxed copy of an email summarily
transferring him from the King’s County Private Sector to
the Kendra Unit. No reason was given for this transfer.

115. Plaintiff FELICIANO was transferred based upon
his Hispanic background.

i116. In April 2003, notice was given for the vacant
position of Chief of Operations, and in May 2003, Plaintiff
PELICIANO submitted his resume for consideration directly
to Defendant ODOM,

117. Because of his Hispanic background, Plaintiff
FELICIANO was never granted an interview by ODOM, nor was

he even considered for the open position despite having ten

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years of experience as a deputy, three years of experience
as a Supervising Deputy Sheriff, and the fact that
FELICIANO is a licensed attorney.

118, The vacant Chief of Operations position was given
to a non-Hispanic who had absolutely no supervisory
experience whatsoever and never performed a day of
Sheriff’s work.

119. On July 20, 2004, Plaintiff FELICIANG was
transferred to the New York County Private Sector Unit
where he was a supervisor.

120. Immediately after assuming said position,
Plaintiff FELICIANO’s most experienced subordinates were
transferred to different duties in other offices and were
assigned to non-Hispanic supervisors.

121. Plaintiff FELICIANO was never consulted about
said transfers, nor did he request them.

izz. Because of his Hispanic background, the City
Sheriff's Office replaced Plaintiff FELICIANO’s most
experienced personnel with subordinates that had little or
no experience on the job and had to be trained, several of
whom were on restricted duty and had histories of work-

related problems.

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123. Because of his Hispanic background, Plaintiff
FELICIANO became the supervisor with the least experienced
Deputy Sheriff staff.

124. Upon information and belief, said transfers of
Plaintiff FELICIANO’s most experienced personnel were made
on the orders of Defendants ODOM and LAROSE who do not
treat similarly situated non-Hispanics in this manner.

125. On or about November 2004, Plaintiff FELICIANO
was notified that: (a) the Sergeant under his command was
being transferred to another unit, and (b) that the unit he
was supervising, the New York County Private Sector Unit,
was being relocated to 66 John Street, New York, New York.

126. Unlike non-Hispanic supervisors in the Sherifi’s
Office, Plaintiff FELICIANO was never consulted regarding
said transfer or said relocation.

127. Said transfer and relocation were made upon the
orders of Defendants ODOM and LAROSE. The Sheriff’s Office
has a custom and practice of consulting superior officers
regarding transfers and relocations. Unlike Plaintiff
FELICIANO, similarly situated non-Hispanic supervisors are
consulted on said occasions.

128. Also on or about November 2004, Plaintiff
FELICIANO assigned a specific tour to a non-Hispanic

Sergeant who was newly assigned to FELICIANO’s command. The

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Sergeant appealed FELICIANO’s tour assignment to Defendant
LAROSE.

129. As per Sheriff's Office custom and practice,
tours are assigned at the discretion of the supervisor.

130. Defendant LAROSE undermined Plaintiff FELICIANO’s
authority by not only accommodating the non-Hispanic
Sergeant’s preferred tour, but also by changing Plaintiff
FELICIANO’s tour.

131. On January 7, 2005, Defendant LAROSE notified
Plaintiff FELICIANO via email that effective January i10,
2005, all lieutenants in the Private Sector Units were
required to work 9:90 am to 5:00 pm tours.

132. Plaintiff FELICIANO was the only private sector
supervisor ta receive said email. No non-Hispanic
lieutenants received said directive.

133. Plaintiff FELICIANO has been treated differently
than similarly situated non-Hispanic lieutenants, based
upon his race and national origin in that non-Hispanic
supervisors are not required to work the 9:00 am to 5:00 pm
tour in the Private Sector units.

134. On or about October 2005, Plaintiff FELICTIANO

applied for an open position in the Bronx.

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135. Plaintiff FELICIANO was denied said position,
which was given to a non-Hispanic Deputy with less
experience and seniority than FELICIANO.

i36. As a direct result of the severe and pervasive
discrimination that Plaintiff FELICIANO has endured, his
earning potential has been severely limited.

137. As a result of the disparate treatment due to
Plaintiffs’ race and national origin, as weil as
retaliation for complaining of said discriminatory
practices, Plaintiff FELICIANO has been economically
damaged and caused to endure indescribable amounts of undue

stress and anxiety.

E. COMPLAINT OF JEFF RIVERA

138. Plaintiff RIVERA began his career with the
Sheriff's Office in 1990 and has always had an exemplary
performance record.

139. Despite his seniority, the commendations of his
supervisors and his stellar performance evaluations,
Piaintiff RIVERA has never been considered for promotion by
Defendants.

140. Defendants, at present time, continue to promote
non-Hispanic deputies with less seniority than Plaintiff

RIVERA, based upon Plaintiff's Hispanic background.

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141. On November 30, 2004, Plaintiff RIVERA wrote to
Defendant ODOM regarding his frustrations with a
discriminatory promotion system that overlooks merit, hard
work and dedication.

142. Plaintiff RIVERA received no response from
Defendant ODOM.

143. In addition, Plaintiff RIVERA is treated
differently than similarly situated non-Hispanic deputies,
in that, to the present day, the Sheriff’s Office
continuously denies Plaintiff, and other Hispanic deputies,
preferred time schedules and transfer requests.

144. In addition, non-Hispanic deputies continue to
have the privilege of picking the borough in which they
wish to work, an option which Defendants never give to
similarly situated Hispanic deputies.

145. As a direct result of the severe and pervasive
discrimination that Plaintiff RIVERA has endured, his
earning potential has been severely limited.

146. As a result of the disparate treatment due to
Plaintiffs’ race and national origin, as well as
retaliation for complaining of said discriminatory
practices, Plaintiff RIVERA has been economically damaged
and caused to endure indescribable amounts of undue stress

and anxiety.

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PF. COMPLAINT OF ANTONIO NIEVES

147. Plaintiff NIEVES commenced his employment with
the NEW YORK CITY Sheriff’s Office as a Deputy Sheriff on
December 27, 1993.

148. In his tenure with Defendant CITY, Plaintiff
NIEVES has been unilaterally transferred numerous times to
the least desirable units in the Sheriff's Office, while
other non-Hispanic deputies are assigned to the unit of
their choice, primarily a unit which allows for overtime.
Defendants have failed on numerous occasions to investigate
or respond to Plaintiff NIEVES’ grievances, while the
grievances of non-Hispanics are attended to.

150. In July 2003, Plaintiff NIEVES informed Defendant
ODOM that he was requesting a transfer into the New York
Private Sector to fill an opening that was becoming
available.

151. Plaintiff NIEVES informed Defendant ODOM that the
reason he was requesting said transfer was because said
unit provides deputies with first hand training and
preparation in anticipation for the Lieutenant’s
Examination, and that a position in said unit greatly

increases a deputy’s knowledge, skill and ability to earn a

promotion.

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152. Defendant ODOM stated to Plaintiff NIEVES that
said request would be considered.

153. Plaintiff NIEVES’ transfer request was welcomed
by the Lieutenant and the Undersheriff of the New York
Private Sector, however Defendant ODOM denied NIEVES’
request based upon his Hispanic background and gave the
position to a non-Hispanic deputy.

154. As a result, Plaintiff NIEVES lost the
opportunity to adequately prepare for the lLieutenant’s
Examination given in February 2004, and was thus not
promoted.

155. On numerous occasions, Plaintiff NIEVES has
complained about the discriminatory treatment of Hispanic
Deputy Sheriffs in that even though the Sheriff’s Office is
comprised of thirty three percent Hispanics, deputies with
Hispanic backgrounds are grossly underrepresented and
discriminated against in the Department of Finance as said
agency has no Hispanics on its management staff.

156. As a direct result of the severe and pervasive
discrimination that Plaintiff NIEVES has endured, his
earning potential has been severely limited.

157. As a result of the disparate treatment due to
Plaintiffs’ race and national origin, as well as

retaliation for complaining of said discriminatory

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practices, Plaintiff NIEVES has been economically damaged
and caused to endure indescribable amounts of undue stress

and anxiety.

G. COMPLAINT OF JOSEPH APARICIO

158. Plaintiff APAICIO is currently a Sergeant in the
CITY’s Department of Finance, where he has been employed in
the Sheriff's Office since July 8, 1991.

159. Plaintiff APARICIO, like other Hispanic deputies,
is routinely and continuously denied transfer requests and
is forced to remain in undesirable units which do not allow
for overtime. Meanwhile, the transfer requests of non-
Hispanic deputies are consistently granted by Defendants.

160. Gn or about October 2004, Plaintiff APARICIO
requested a transfer to an available position in the Bronx,
Plaintiff APARICIO, because of his Hispanic background, was

told that said position did not exist. Shortly thereafter,

161. On or about November 2004, a non-Hispanic
Sergeant was transferred into the Warrants Unit over
Plaintiff APARICIO who had more seniority and a
longstanding interest in returning to the Warrants Unit
where he had previously served and had an excellent

performance record.

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162. Between September 12, 2002 and February 10, 2003,
Plaintiff APARICIO submitted at least six formal written
requests as well as countiess verbal requests for a
transfer.

163. Deputy Sheriff's Association President James
Smyth contacted both Defendants EASON and ODOM on _ two
separate occasions on Plaintiff APARICIO’s behalf. EASON
and ODOM told Smyth “anything but this.”

164. Plaintiff APARICIO’s numerous and continuing
requests were never granted by Defendants, and he was never
received an explanation for the denial of each and every
one of his requests.

165. Plaintiff APARICIO initiated EEO complaints and
received word from Defendant ODOM that if he “laid low” for
awhile, he would be “taken care of.” Plaintiff APARICIO
was never “taken care of.”

166. Plaintiff APARICIO has, and continues to the
present day, to request a change of shift from night tours
to day tours.

167. Even in light of Plaintiff APARICIO’s seniority,
time in rank, and excellent performance record, as well as
his legitimate childcare needs, Defendants refuse to grant

him a tour change, even though non-Hispanic deputies

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‘receive tour changes as well as preferred tour schedules
upon request to Defendants.

168. On numerous occasions, Plaintiff APARICIO has
complained about the discriminatory treatment of Hispanic
deputies in that Defendants routinely use Hispanics for the
purpose of being stopgaps or fillers, so that non-Hispanic
deputies can receive special accommodations in their
schedules.

169. As a result of said complaints, Plaintiff
APARICIO has been the target of retaliation in that
Defendants have denied, and continue to present day to
deny, all of his requests for a tour change “and/or a
transfer.

170. As a direct result of the severe and pervasive
discrimination that Plaintiff APARICIO has endured, his
earning potential has been severely limited.

i71l. As a result of the disparate treatment due to
Plaintiffs’ race and national origin, as well as
retaliation for complaining of said discriminatory
practices, Plaintiff APARICIO has been economicaily damaged
and caused to endure indescribable amounts of undue stress

and anxiety.

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H. COMPLAINT OF CARLOS VAZQUEZ

172. Plaintiff VAZQUEZ commenced his employment with
the NEW YORK CITY Sheriff’s Office as a Deputy Sheriff on
or about December 1994.

173. After successful completion of the training
academy, Plaintiff VAZQUEZ was first assigned to the
Scofftow Unit, which is widely considered the least
desirable unit within the Sheriff's Office.

174. Despite an unblemished record, unanimously
positive evaluations, and even after receiving a Medal of
Honor for his service with the Sheriff's Office, Plaintiff
VAZQUEZ was repeatedly passed over for promotion to the
position of Sergeant, while less-qualified, non-Hispanics
with less seniority were promoted,

175. The Sheriff's Office promoted said non-Hispanics
without following any uniform standards detailing the
criteria used to determine which deputies should receive a
promotion, but rather, solely upon the basis of race.

176. On or about April 2004, Plaintiff VAZQUEZ was on
assignment to the Warrant Unit, which was moved to a new
location, 3010 Star Avenue in Long Island City. Several
non-Hispanic deputies were given “choice” desks with full
cubicles and top drawers, thereby allowing for maximum

Space and storage. On or about February 14, 2005, Deputy

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Sheriff Kenneth Spencer was transferred out of the Warrant
Unit, at which time Plaintiff VAZQUEZ requested that he be
assigned to the available desk with storage space. Despite
the fact that Plaintiff VAZQUEZ was first to request the
desk, and Lt. Thomas Doyle accepted said request,
Undersheriff Linda Reynolds decided to place a fellow black
femaie in the desk space. Said black female had less
seniority than Plaintiff VAZQUEZ, and furthermore, she was
only a “provisional” deputy with less time in the position
and in the Warrant Unit.

i77. On or about September 2005, while assigned to the
8:60 a.m. to 6:00 p.m. tour, Plaintiff VAZQUEZ’ s
supervisors informed him that Defendant LAROSE was
considering unilaterally transferring him to a later tour,
11:00 a.m. toe 9:00 p.m.

178. Plaintiff VAZQUEZ informed his supervisors that
he had not requested said tour change, and that a tour
change would present him with considerable hardship since
he has an elderly mother who he cares for, he would have to
discontinue taking educational night courses, and he would
have to resign from his part time job where he has been
working since 1997.

179. Furthermore, there was the same black, female

“provisional” deputy who had been given the preferred desk

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ad no civil service status, with less time in
the Warrant Unit and less seniority than Plaintiff VAZQUEZ,
who was not being considered for transfer to the late tour.

180. On or about September 20, 2005, Plaintiff VAZQUEZ
filed a union grievance relating to the aforementioned
circumstances. Plaintiff also wrote to Chief of Operations,
DEFENDANT LAROSE, explaining that he had more time in job
title than any other permanent or provisional deputy
assigned to the Warrant Unit.

181. Despite his substantiated objections, Plaintiff
VAZQUEZ was told that he had no choice but to accept a
transfer to the late tour.

182. Upon being transferred to the late tour,
Plaintiff VAZQUEZ was forced to discontinue taking night
Classes and cease furthering his education, he had no other
choice but to seek aid in caring for his mother, and he had
to quit his part time job which he had been working seven

(7) days a week and which he relied upon as a needed source
183. On or about October 14, 2005, during the course

of his duties, Plaintiff VAZQUEZ slipped down a flight of

stairs and fractured his elbow.

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184. Said fracture prevented Plaintiff VAZQUEZ from
returning to work for three (3) months while he underwent
physical therapy four (4) times a week.

185. Upon his return to work, on or about February
2006, Chief Thalasitis told Plaintiff VAZQUEZ that
management was angry with him and felt he had purposely
injured himself, despite concrete medical proof that he did
in fact fracture his elbow. At this time, Plaintiff VAZQUEZ
was told that he would never work the day shift again. Upon
information and belief, similarly situated non-Hispanics
are not treated in this manner.

186. Plaintiff VAZQUEZ, upon returning to work after
time off as a result of his injury, was denied a “light
duty” assignment. Similarly situated non-Hispanic deputies,
upon returning to work after sustaining an injury, are
routinely given “light duty” work so as to aid in the
recovery process. Plaintiff VAZQUEZ and other Hispanics in
the Sheriff's Office are denied such accommodations that
are routinely given to non-Hispanics, and are therefore
treated differently on account of their race.

187. On or about May 1, 2006, Plaintiff VAZQUEZ,
despite his substantiated objections and legitimate

concerns, was assigned an even later tour, 1 p.m. to 11:00

p.m.

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188. Plaintiff VAZQUEZ submitted numerous memos, as
well as made telephonic requests to Chief Thalasitis,
stating that in light of the aforestated circumstances, he
desperately needed to work an earlier shift.

18S, Plaintiff VAZQURZ reiterated that there were
provisional deputies with less seniority and less time in
the Warrant Unit that were not being given late tours. It
must be noted that said provisional deputies were non-
Hispanic.

190. Lt. Shor responded to Plaintiff VAZQUEZ’s memo by
submitting an email to management that he had no problem
with Plaintiff VAZQUEZ working an earlier shift. Yet
Management, as before, refused to allow Plaintiff VAZQUEZ
te work the day shift, thereby giving the preferred tours
to non-Hispanic deputies with less seniority.

191. Despite his seniority, time in unit, civil
service status, legitimate family needs, and the loss of
his second job, Plaintiff VAZQUEZ has been forced to
continue to work the late tour over non-Hispanics who have
less seniority, less time in unit, and who hold

provisional, not civil service, status.

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AS AND FOR A FIRST CLAIM PURSUANT TO 42 USC $1981
AGAINST ALL DEFENDANTS

192. Plaintiffs repeat, reiterate and reallege each
and every allegation contained in paragraphs 1-191 with the
same force and effect as if fully set forth herein.

193. Throughout the events cited herein, the
individual Defendants, while acting under the color of law,
subjected Plaintiffs to the deprivation of rights,
privileges and immunities secured by the Constitution and
laws of the United States, and specifically the equal
protection and due process guarantees of the 14° Amendment
of the Constitution, civil rights as guaranteed under

Article I, Section II, of the New York State Constitution.

Constitutional rights to be free of discrimination based
upon race, national origin and gender and have been damaged
in their employment and have suffered emotional distress
and conscious pain and suffering as a result of these
actions.

195. The actions of Defendants, in depriving
Piaintiffs of their constitutional and civil rights, as

herein before stated, were willful and malicious acts.

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196. As a result of the aforesaid wrongful, reckless
and intentional acts of Defendants, Plaintiffs have been
damaged in the amount of $5,000,000.00.

197. Based on the foregoing, Plaintiffs are entitled
to punitive and exemplary damages in the sum of

$5,000,000.00.

AS AND FOR A SECOND CLAIM PURSUANT TO 42 USC §1983
AGAINST ALL INDIVIDUAL DEFENDANTS

1958. Plaintiffs repeat, reiterate and reallege each
and every allegation contained in paragraphs 1-197 with the
same force and effect as is fuily set forth herein.

199. The individual Defendants have embarked on a
course of conduct that deprived Plaintiffs of their rights
under the United States Constitution, federal and state
law.

200. The facts and circumstances cited above with
reference to the Constitution and other civil rights
violations suffered by Plaintiffs are examples of
Defendants’ violations of Plaintiffs’ civil rights.

201. The actions of Defendants, acting under color of
state and local law, custom and usage, have deprived
Plaintiffs of their rights, privileges and immunities under

the laws and Constitution of the United States, and in

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particular, of their rights to due process under the 14”
Amendment.

202. By these actions, Defendants have jointiy and
Separately deprived Plaintiffs of their rights under the
14*" Amendment to the United States Constitution, in
Violation of 42 USC §1983.

203. As a consequence of Defendants’ unlawful actions,

Plaintiffs demand damages in the amount of $5,000,000.00.

AS AND FOR A THIRD CLAIM AGAINST DEFENDANTS FOR FIRST
AMENDMENT RETALIATION

204. Plaintiffs repeat, reallege, and reiterate each
and every allegation set forth in paragraphs 1-203 with the
same force and effect as is fully set forth herein.

205. Plaintiffs have been unlawfully subjected to a
hostile work environment and harassment in retaliation for
exercising their First Amendment rights to free speech.

206. The aforementioned conduct on the part of
Defendants was without cause or justification and viclated
Plaintiffs’ rights, civil rights, privileges and immunities
aS guaranteed by the First Amendment of the United States
Constitution as well as the Constitution of the State of
New York and the New York City Administrative Code and

Human Rights Law.

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207. The actions of Defendants in depriving
Plaintiffs of their constitutional and civil rights were
willful and malicious acts.

208. As a direct and proximate consequence of
iful, discriminatory and harassing conduct,

Plaintiffs have suffered losses of benefits and

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of their employment with the Sheriff’s Office, been damaged
professionally and economically, as well as suffered
physical and emotional pain and suffering.

209. Based on the foregoing, Plaintiffs are entitled
to compensatory damages in the amount of $5,000,000.00, and

punitive and exemplary damages in the amount of $5,006,000.

AS AND FOR A FOURTH CLAIM PURSUANT TO 42 USC §1985

210. Plaintiffs repeat, reiterate and reallege each
and every allegation contained in paragraph 1-209 with the
same force and effect as is fully set forth herein.

211. Defendants have conspired with and amongst each
other to deprive Plaintiffs of their rights under the

United States Constitution, federal, state and city laws.

212. The named Defendants have conspired to violate
Plaintiffs’ civil rights pursuant to 42 USC § 1985 when
they agreed together to implement, direct and/or
participate in a program to retaliate, harass and create a
hostile work environment against Plaintiffs solely because
of their race and national origin and in opposition to
discrimination and whistle blowing.

213. Such policy and practice is an intentional and
concerted effort by Defendants to disparage Plaintiffs.

214. By reason of the aforementioned facts and
conspiracy, each of the individual Defendants has violated
42 USC § 1985.

215. The actions and omissions of Defendants, in
depriving Plaintiffs of their constitutional and civil
rights, by their participation in the discriminatory and
harassing and retaliatory conduct, as herein stated, were
willful and malicious acts.

216. Because of the foregoing, Plaintiffs have been
damaged in the amount of $5,000,000.00, and punitive and

exemplary damages in the sum of $5,000,000.00.

AS AND FOR A FIFTH CLAIM IN VIOLATION OF TITLE VII OF CIVIL
RIGHTS ACT OF 1964 AS AMENDED

217. Plaintiffs repeat, reiterate and reallege each
and every allegation contained in paragraphs 1-216 with the

same force and effect as is fully set forth herein.

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218. Based upon the aforementioned facts, Defendants

discriminated against Plaintiffs as a result of their race

and national origin and in retaliation for exercising their
First Amendment rights.
219. Defendants intentionally and willfully

discriminated against and harassed Plaintiffs and permitted
Plaintiffs to be discriminated against and harassed in
their employment on account of their race and national
origin and in retaliation for opposition to discrimination,
thereby violating §704(A) OF Title VII of the Civil Rights
Act of 1964 as amended and 42 USC §2000e-3(a).

220. No action was taken by Defendants or its agents
to stop the harassment of Plaintiffs, thereby contributing
to a hostile working environment.

221. AS a result of the Defendants’ conduct,
Plaintiffs have suffered economic loss, pain, humiliation,
embarrassment, extreme emotional distress and continue to

suffer to this day, and further as a result of Defendants’

conduct, Plaintiffs have suffered both professionally and
personally.
222 As a result of the foregoing, Plaintiffs have

been damaged in the amount of $5,000,000.00. Additionaily,

Plaintiffs seek punitive and exemplary damages in the sum

of $5,000,000.00 against the individual Defendants.
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AS AND FOR A SIXTH CLAIM PURSUANT TO NEW YORK STATE
EXECUTIVE LAW §296

223. Plaintiffs repeat, reiterate and reallege each
and every allegation contained in paragraphs 1-222 with the
same force and effect as if fully set forth herein.

224. Based on the foregoing, Defendants intentionally
and willfully discriminated against Plaintiffs in their
employment on account of race and national origin and in
opposition to discriminatory practices in violation of New
York State Executive Law §296. Plaintiffs have continuously
been victimized by Defendants for their opposition to
discrimination and a hostile working environment created by
Defendants.

225. Even though Defendants were aware of Plaintiffs’
complaints and the existence of a hostile work environment,
no actions were taken by Defendants in an effort to correct
the discriminatory conduct on behalf of the individual
Defendants.

226. Such conduct on the part of Defendants and ali
others, without cause or justification, violated the
Plaintiffs’ civil rights guaranteed under the New York

State Constitution and New York State Executive Law § 296.

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227. As a resuit of Defendants’ actions and ail
deprivations of Plaintiffs’ rights as guaranteed under New
York State Executive Law § 296, Plaintiffs have suffered
economic loss, pain, humiliation and extreme emotional
distress.

228. As a result of the foregoing wrongful, careless
and intentional acts of Defendants, Plaintiffs have been
damaged in the amount of $5,000,000.00. Additionally
Plaintiffs seek punitive and exemplary damages in the

amount of $5,9000,000.00.

AS AND FOR A SEVENTH CLAIM PURSUANT TO NEW YORK CITY
ADMINISTRATIVE CODE SECTION 8-107(1) et. seq.

229. Plaintiffs repeat, reiterate and reallege each
and every allegation contained in paragraphs 1-228 with the
same force and effect as is fully set forth herein.

230. Defendants discriminatory conduct based on
Plaintiffs’ race and national origin, as well as in
retaliation for their whistle blowing and complaints of
discriminatory conduct by other members of the Department
of Finance and in retaliation for their opposition to
discrimination, constitutes discrimination in violation of
the New York City Administrative Code § 8+107{1) et.seq.

and the New York City Human Rights Law.

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231. The aforementioned occurrences were caused by
the wrongful, careless, reckless and intentional acts of
Defendants.

232. Because of the foregoing, Plaintiffs have been
damaged in the amount of $5,000,000.00. Additionally
Plaintiffs seek punitive and exemplary damages in the
amount of $5,000,000.00.

JURY TRIAL

233. Plaintiffs request a jury trial on all questions

of fact.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this honorable Court
grant the following relief:

1. Declare that the aforementioned actions of
Defendants were unconstitutional and in viclation of the
United States Constitution, the New York State Constitution
and New York City Human Rights Law and Administrative Code
along with all appiicable statutes;

2. Declare that the aforementioned discriminatory
actions of Defendants were in violation of New York State
Executive Law § 296, 42 U.S.C. § 1981, 42 U.S.C. § 1983, 42
U.S.C. § 1985, and Title VII of the Civil Rights Act of

1964, as amended;

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3. As and for Plaintiffs’ First Ciaim, grant
Plaintiffs the sum of $5,900,000.00, along with punitive
and exemplary damages in the amount of $5,000,000.00;

4, As and for Plaintiffs’ Second Claim, grant
Plaintiffs the sum of $5,000,000.00 along with punitive and
exemplary damages in the amount of $5,000,000.00;

5. As and for Plaintiffs’ Third Ciaim, grant
Plaintiffs the sum of $5,000,000.00 along with punitive and
exemplary damages in the amount of $5,000,000.00;

6. As and for Plaintiffs’ Fourth Claim, grant
Plaintiffs the sum of $5,000,000.00 along with punitive and
exemplary damages in the amount of $5,000,000.00;

7, As and for Plaintiffs’ Fifth Claim, grant
Plaintiffs the sum of $5,000,000.00 along with punitive and
exemplary damages in the amount of $5,000,000.00;

8. As and for Plaintiffs’ Sixth Claim, grant

laintiffs the sum of $5,000,000.00 along with punitive and

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exemplary damages in the amount of $5,000,000.00;
9, As and for Plaintiffs’ Seventh Claim, grant
Plaintiffs the sum of $5,000,000.00 along with punitive and
exemplary damages in the amount of $5,000,000.00;

10. Grant Plaintiffs all costs for this action,

including reasonable attorney’s fees; and

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11. Grant Plaintiffs such other and further relief as
this Court may seem just and proper.

Dated: Lake Success, New York
June 27, 2006

Yours etc,
Cronin & Byczek, LLP

pbely. F. Pally

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